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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

LAGUNA TUBULAR PRODUCTS                                    §
CORPORATION and THE INSURANCE                              §
COMPANY OF THE STATE OF                                    §
PENNSYLVANIA,                                              §
     Plaintiffs,                                           §       CIVIL ACTION NO. __________
                                                           §
v.                                                         §
                                                           §
THE BURLINGTON INSURANCE COMPANY,                          §
     Defendant.                                            §

               PLAINTIFFS’ ORIGINAL COMPLAINT FOR DECLARATORY JUDGMENT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Plaintiffs Laguna Tubular Products Corporation (“Laguna”) and The Insurance Company

of the State of Pennsylvania (“ICSOP”) petition this Court, pursuant to the Declaratory Judgment

Act, 28 U.S.C. Section 2201, for a declaration that defendant The Burlington Insurance

Company (“Burlington”) has the duty to defend or indemnify Laguna and ICSOP in the

underlying lawsuits. In support of this Complaint for Declaratory Judgment, plaintiffs would

show as follows:

                                                 I.
                                         NATURE OF THE CASE

        1.1     This is a declaratory judgment action filed to determine whether the defendant

Burlington has a duty to defend and indemnify Laguna in the in the underlying lawsuits styled:

                (1)      Tema Oil & Gas v. Trident Steel Corporation, Laguna Tubular Products
                         Corporation, North American Interpipe, Inc. and O.C.T.G., LLP, in the
                         295th Judicial District Court of Harris County, Texas, Cause No. 2014-
                         70887 (“Tema Lawsuit”); 1 and


1
         The Plaintiff’s First Amended Original Petition in the Tema Lawsuit is attached to this Complaint as
Exhibit A.

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                (2)      North American Interpipe, Inc. v. Laguna Tubular Products Corporation
                         v. O.C.T.G., LLP, in the 113th Judicial District Court of Harris County,
                         Texas, Cause No. 2016-00657 (“NAI Lawsuit”). 2
        1.2     As discussed in further detail below, Laguna entered into a contract with

Burlington’s insured, OCTG, LLP (“OCTG”), which required OCTG to maintain an insurance

policy naming Laguna as an additional insured. Plaintiffs assert that Burlington must provide

Laguna a defense as an additional insured in the underlying lawsuits.

                                                 II.
                                  PARTIES, JURISDICTION AND VENUE

        2.1     Plaintiff Laguna is a corporation duly organized and existing under the laws of the

State of Texas with its principal place of business in Houston, Texas. Plaintiff ICSOP is a

corporation duly organized and existing under the law of the State of Illinois with its principal

place of business in New York, New York.

        2.2     Defendant Burlington is a corporation duly organized and existing under the law

of the State of North Carolina with its principal place of business in Burlington, North Carolina.

Liberty may be served with citation and a copy of this petition by serving the Commissioner of

Insurance for the State of Texas, David Mattax, Texas Department of Insurance, 333 Guadalupe

Street, Austin, Texas, 78701.

        2.3     Because the parties to this lawsuit are citizens of different states and the amount

in controversy exceeds $75,000, this Court has jurisdiction under 28 U.S.C. Section 1332.

        2.4     Venue is proper in this Court pursuant to 28 U.S.C. Section 1391(a)(1) and (2)

because the insured and underlying defendant, Laguna, resides in the district, and a substantial

part of the events or omissions giving rise to the underlying lawsuit occurred here. Moreover,


2
        The Plaintiff’s First Amended Original Petition in the NAI Lawsuit is attached to this Complaint as Exhibit
B.

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both of the underlying lawsuits, as to which a declaration is sought, are pending in Harris

County.

        2.5      An actual controversy exists between the parties within the meaning of 28 U.S.C.

Section 2201, and this Court is, therefore, vested with the power in the present case to declare

and adjudicate the rights and other legal relationships of the parties in this action with reference

to the issues raised by this Complaint.

                                                      III.
                                                     FACTS

        3.1      Laguna entered into a contract—the Tubular Finishing Services Agreement (the

“Contract”)—with Burlington’s insured, OCTG, on December 31, 2009. 3 According to the terms

of the Contract, Laguna engaged OCTG to provide electromagnetic and ultrasonic testing and

threading and related end finishing services. Exhibit C at 2.

        3.2      The Contract requires OCTG to provide insurance for claims arising “for damages

because of bodily injury, sickness or disease, or death of any person other than Mill employees

and contractors;” “for damages because of injury to or destruction of tangible property, including

loss of use resulting therefrom;” and “claims involving general commercial liability or

contractual liability to [OCTG]’s obligations under [the Contract], including its obligation of

indemnification.” Exhibit C at 5.

        3.3      The Contract also requires that OCTG retain a policy that covers Laguna “and its

employees . . . as additional insureds.” Exhibit C at 6.

        3.4      Both the Tema and the NAI Lawsuits arose out of damages to oil wells (owned by

Tema Oil & Gas and Red Rocks Oil & Gas Operating) as a result of allegedly defective casing

that was heat treated and inspected by Laguna and OCTG.

3
        The Contract is attached to this Complaint as Exhibit C.

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        3.5    The petition in the Tema Lawsuit alleges that Tema Oil & Gas (“Tema”)

purchased pipe from Trident Steel Corporation (“Trident”) that had been heat treated by Laguna

and inspected by Laguna’s subcontractor, OCTG, LLP (“OCTG”). Exhibit A at 2. The casing

Tema purchased from Trident allegedly failed due to Laguna’s improper heat treatment of the

casing, “which produced a hard, brittle structure that failed when subjected to service loads.”

Exhibit A at 3. As a result of this failure, Tema filed suit against Laguna, asserting negligence

and strict products liability claims. Exhibit A at 6.

        3.6    The NAI Lawsuit arose after Laguna was dismissed from a lawsuit out of the

Western District of Oklahoma for a lack of personal jurisdiction: Red Rocks Resources LLC

d/b/a Red Rocks Oil & Gas Operating v. Trident Steel Corporation, Case No. CIV-14-948-C (the

“Red Rocks Lawsuit”). As a result, NAI filed a lawsuit in Harris County, seeking indemnification

and contribution from any liability assessed against NAI in the Red Rocks Lawsuit.

        3.7    The petition in the NAI Lawsuit alleges that NAI contracted with Laguna to

manufacture tubular casing (for oilfield use) via heat treatment, which NAI then sold to Red

Rocks Resources, LLC (“Red Rocks”). Exhibit B at 2. NAI further alleges that the casing NAI

sold to Red Rocks failed due to improper heat treatment Exhibit B at 2. As a result, Red Rocks

filed suit against NAI in the United States District Court for the Western District of Oklahoma.

Exhibit B at 2-3. When NAI attempted to bring Laguna in as a third party to the Red Rocks

Lawsuit, the claim was dismissed for lack of personal jurisdiction. Exhibit B at 3.

        3.8    Thereafter, NAI filed the NAI Lawsuit against Laguna in Harris County, asserting

that NAI is entitled to contribution and/or indemnity from Laguna toward any liability that may

be found to exist from NAI to Red Rocks or Trident as a result of the occurrence made the basis

of the Red Rocks Lawsuit. Exhibit B at 3. In the alternative and in addition to NAI’s claim for


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contribution and indemnity, NAI asserts the following: (1) strict products liability, (2)

negligence, (3) breach of contract, (4) breach of warranty, and (5) a claim for declaratory relief.

Exhibit B at 3-5.

        3.9    Laguna filed a cross-claim against OCTG in the NAI Lawsuit, alleging that in the

event that the casing is found defective, the breaches, acts and omissions on the part of OCTG—

not Laguna—proximately caused the damages sustained by NAI.

                                           IV.
                              CLAIMS FOR DECLARATORY RELIEF

        4.1    Plaintiffs now seek a declaration that Burlington—as the insurer of OCTG—has a

duty to defend and indemnify plaintiffs for the claims asserted against Laguna in the two

underlying lawsuits.

        4.2    OCTG performed inspection and threading services (as provided for and governed

by the Contract) and bucked the couplings on the casing involved in the Tema and NAI Lawsuits.

Those inspection services included the inspection of each joint of casing for cracking and other

defects.

        4.3    Laguna has been sued by Tema based on allegations including the existence of

cracking in the subject casing, which resulted in damage to the oil and/or gas well operated by

Tema. Laguna and OCTG have been sued by NAI, who seeks contribution and indemnification

from Laguna for any liability arising from the suit brought by Red Rocks against NAI due to the

alleged failure of Laguna’s casing, which caused damage to an oil and/or gas well operated by

Red Rocks.

        4.4    Pursuant to the terms laid out in the Contract between Laguna and OCTG, OCTG

was obligated to name Laguna as an additional insured on its policy with Burlington.



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        4.5   Despite Laguna’s repeated attempts to tender a claim and request a defense from

Burlington, Burlington has failed to provide a defense in either of the underlying lawsuits. This

has caused ICSOP, as Laguna’s primary insurer, and Laguna to incur significant additional costs

related to its defense of Laguna in the underlying Tema and NAI Lawsuits.

        4.6   Accordingly, Laguna and ICSOP seek a declaration that Burlington has the duty

to defend and indemnify Laguna with regard to the claims asserted by NAI, Trident, and Tema in

the underlying lawsuits. ICSOP further seeks reimbursement of defense costs paid on behalf of

Laguna from Burlington.

        WHEREFORE, Laguna Tubular Products Corporation and The Insurance Company of

the State of Pennsylvania seek a declaration that The Burlington Insurance Company is required

to provide coverage for any and all claims made by any party in the underlying lawsuits, and for

such other and further relief to which Laguna Tubular Products Corporation and the Insurance

Company of the State of Pennsylvania may show themselves justly entitled.




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                                          Respectfully submitted,


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                                          STATE OF PENNSYLVANIA




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